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           PLAINTIFFS MOTION TO
           EXCLUDE OPINIONS OF
             ITAMAR SIMONSON
            (PREVIOUSLY FILED AS
                  ECF 673)
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 The State of Texas, et al.,

                        Plaintiffs,           Case No. 4:20-cv-00957-SDJ

 v.                                           Hon. Sean D. Jordan

 Google LLC,
                                              Special Master: David T. Moran
                        Defendants.



                        PLAINTIFF STATES’ MOTION TO EXCLUDE
                           OPINIONS OF ITAMAR SIMONSON
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                                        INTRODUCTION

       Google’s survey expert, Dr. Itamar Simonson, conducted three surveys to examine the

views of “higher-spending” advertisers, “lower-spending” advertisers, and ad agencies about

behaviors regarding digital advertising. Those surveys fail to adhere to accepted standards in the

field of survey design for three reasons. First, they are based on an unrepresentative sample—Dr.

Simonson improperly excluded wide swaths of potential respondents without ensuring that doing

so would not infect his survey results. Second, Dr. Simonson deviated from the standard approach

of conducting double-blind surveys. And third, the penultimate question in each of the three

surveys turned on a vague and ambiguous term, which Dr. Simonson deliberately left to the

respondents to interpret. The use of that term—“small but significant amount”—by design, caused

respondents to interpret the survey question differently and will almost certainly confuse, not help,

the jurors. These fundamental flaws undermine Dr. Simonson’s methodology fatally and compel

exclusion of his opinions under Rule 702.

                                         BACKGROUND

   A. Dr. Simonson Conducted Three Surveys Purporting to Represent the “Higher-
      Spending” Advertiser, “Lower-Spending” Advertiser, and Ad Agency Populations.
       Google’s counsel asked Dr. Simonson to “conduct surveys designed to examine how

advertisers at companies and advertisers at ad agencies (collectively, ‘advertisers’) approach,

manage, and evaluate digital advertising, and, in particular, display advertising and programmatic

display advertising.” Ex. A, July 30, 2024 Expert Report of Itamar Simonson, Ph.D. (“Simonson

Rep.”), ¶ 13. Advertiser Perceptions—a market research firm—facilitated the three internet

surveys. Id. ¶ 30. The first was the “Higher-Spend Advertiser Survey,” which “included advertisers

and marketers based in the U.S. who work for companies that sell and advertise products or

services (as opposed to ad agencies) and have spent over $500,000 on advertising in the past year.”

Id. ¶ 42. Second was the “Lower-Spend Advertiser Survey,” which included U.S.-based advertisers

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and marketers who spent less than $500,000 on advertising in the past year. Id. ¶ 116. Third was

the “Ad Agency Survey,” which “included individuals based in the U.S. who work for ad agencies

and assist their clients with media strategy . . . who have used programmatic display advertising in

the past year for their primary client and who were personally involved in assisting their primary

client with decisions regarding their use of display advertising . . . .” Id. ¶ 165.

    B. At the Direction of Counsel, Dr. Simonson Excluded from His Surveys 580 Key
       Advertisers and Ad Agencies.
        Advertiser Perceptions selected samples of respondents for the surveys from its “AdPROs

panel,” which “includes U.S.-based respondents who are brand marketers, agency executives,

media specialists, digital publishers, and IT leaders directly involved in media and ad tech purchase

decisions.” Id. ¶ 31. The respondents in the AdPROs panel “control[] $165B+ of annual ad spend”

and include “100% of the Ad Age Top 200 Advertisers.” Id.




                                                                                       Google’s counsel

directed Dr. Simonson to have Advertiser Perceptions follow its “standard practices” and “generate

an inbound sample that was representative of the U.S. advertiser population accounting for the

vast majority of spending.” Simonson Rep. ¶ 33.

        Dr. Simonson then—directed by Google’s counsel—had Advertiser Perceptions exclude

key potential respondents from the sample. “At the direction of counsel, I asked AP to pre-screen

respondents to ensure that they did not work for any companies that are parties to, were identified

on initial disclosures in, or have received subpoenas in connection with United States v. Google

LLC, No. 1:23-cv-00108 (E.D. Va.), . . . In re Google Digital Advertising Antitrust Litigation, No.

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1:21-md-03010 (S.D.N.Y.), and/or Texas v. Google LLC, No. 4:20-cv-00957 (E.D. Tex.).” Id. ¶ 34.

Dr. Simonson ultimately placed 580 companies on the “No Contact List,” and excluded anyone

who worked for them from the surveys. Id. ¶ 34, App’x I (No Contact List).

       By excluding those potential respondents, Google ensured the survey missed the most

prolific users of ad tech tools. Indeed, the No Contact List



                                                                         According to Advertiser

Perceptions, the Big Six “are responsible for roughly 30% of total US ad spending today.” 1 The

exclusion of the Big Six is staggering on its own. But Dr. Simonson did not stop there; he also

excluded



                Some notable missing advertisers are American Express, Best Buy, Coca-Cola,

CVS, General Motors, Meta, Netflix, Nike, Target, and Walmart. Simonson Rep., App’x I. These

represent some the most important advertisers in the market;




       Dr. Simonson defends his decision to exclude these key potential respondents with a single

speculative sentence: “To the extent [No Contact List companies] are, on average, more

sophisticated advertisers, then my results would likely be conservative on key topics such as multi-

homing . . . and substitution across advertising types in response to cost increases, which likely

requires greater experience and expertise.” Simonson Rep. ¶ 34.


1
  See Changing Agency Dynamics: How Shifts in Ad Spending and the Role of AI in Media Buying
and Planning Are Changing the Agency-Marketer Relationship, Advertiser Perceptions (Aug. 7,
2024),      https://www.advertiserperceptions.com/changing-agency-dynamics-how-shifts-in-ad-
spending-and-the-role-of-ai-in-media-buying-and-planning-are-changing-the-agency-marketer-
relationship/.

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   C. At the Direction of Counsel, Dr. Simonson Revealed That Google Sponsored the
      Surveys for Antitrust Litigation Purposes, Allowing Respondents To Opt-Out.
       The pre-survey exclusion of the companies from the No Contact List was not the end of

the efforts to narrow the survey populations. At the end of the surveys, respondents were told that

the surveys were conducted “on behalf of Google in connection with pending lawsuits in which

the plaintiffs allege that Google engaged in anticompetitive conduct related to digital advertising.”

Id. ¶ 80. Respondents were then allowed to opt out of the survey. Id. (“If you do not want to

participate in this survey, please click ‘Exclude my responses’ below.”). 16 percent (94/603) of

respondents in the Higher-Spend Advertiser Survey, 24 percent (95/402) of respondents in the

Lower-Spend Advertiser Survey, and 15 percent (71/463) of respondents in the Ad Agency Survey

opted out. Simonson Rep. Exs. 2, 38, 69. Dr. Simonson’s decision to allow respondents to opt out

after disclosing the sponsor and purpose of the surveys is




   D. Inconsistent with Standard Practices, Dr. Simonson’s Surveys Asked Diversion
      Questions Using Ambiguous Terminology.
       The surveys’ “Main Questionnaire” sections focused on four categories of questions: (1)

Use of Ad Agencies, (2) Budget Allocation and Substitution, (3) Use of Ad Buying Tools for

Programmatic Display (Multihoming), and (4) Measuring Performance. See Simonson Rep.,

App’x F, App’x G, App’x H. The first question in the “Budget Allocation and Substitution” section

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asked respondents to estimate their budget allocation across ten types of digital advertising:

Search, Programmatic Display, Direct Deals Display, Email, Digital Audio, Social, App/In-app,

Digital Video, Connected TV, eCommerce Platforms, and Other. See id., App’x F.1-12, App’x G.

1-12, App’x H.1-11. The surveys then asked a diversion question:

        Q5. Please read carefully. Now suppose that, based on your analysis, the cost of
        programmatic display advertising has recently increased by a small but
        significant amount, and will remain elevated for the foreseeable future. Assume
        further that, based on similar analyses for other digital advertising types, the costs
        of other digital advertising types have not changed and are not expected to
        change.

        So if the cost of programmatic display advertising increases (while the cost of other
        advertising types remains the same), will you or won’t you divert some of your
        advertising spending for the coming year to other types of digital advertising?
Simonson Rep. ¶ 65 (emphases in original). Those who responded “Yes, I will divert some of my

advertising spending for the coming year to other types of digital advertising” were then asked

where they would “divert [their] advertising spending for the coming year as a result of the

increase in the cost of programmatic display advertising[.]” Id. (emphasis in original).




                 The respondents were then prompted to use a sliding scale to show the extent to

which they “would divert (that is, increase) advertising spending for the coming year to each type

of digital advertising that [they] just indicated.” Simonson Rep. ¶ 66 (emphasis in original).

        The surveys did not define “small but significant amount.” Instead, the term “was designed

to leave it to the respondents to consider their reaction, if any, if (what they consider to be) ‘a small

but significant’ increase in the cost of programmatic display advertising occurred.” Simonson Rep.

¶ 17, n.5.




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    Dr. Simonson does not explain why he used specific metrics in his preliminary interviews,

only to switch to the ambiguous “small but significant amount” term for the main surveys.

Simonson Rep. ¶ 17, n.5.

   E. Dr. Simonson Conducted Flawed Preliminary Interviews and Pre-Tests.
       Before designing the survey questionnaires, Dr. Simonson conducted fourteen

“preliminary interviews” to “inform the development of the survey questions.” Simonson Rep. ¶¶

22-24. Dr. Simonson used a “think-aloud” protocol to help “capture[] respondents’ understanding

and interpretation of the questions in real time,” which he then used to develop the survey

questions. Id. ¶ 24. Dr. Simonson deviated from generally accepted standards in the preliminary

interviews. At the beginning of each interview, interviewees were told that Google sponsored the

interview for “pending antitrust lawsuits in which the plaintiffs allege that Google engaged in

anticompetitive conduct related to digital advertising.” Simonson Rep., App’x D.D-2.




       After Dr. Simonson developed the questionnaires, he arranged to conduct twelve “pre-

tests” of the questionnaires: five of the Higher-Spend Advertiser questionnaire, three of the Lower-

Spend Advertiser questionnaire, and four of the Ad Agency questionnaire. Simonson Rep. ¶ 28,

n.23. During the pre-tests, respondents reviewed and answered the survey questions, and then a

moderator asked scripted debriefing questions. See id., App’x E.E-2. The moderators were

instructed to follow a strict script that posed yes/no questions about whether the respondents

understood the questions and responses. Id. Based on the pretest moderator instructions (id.),



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                                        LEGAL STANDARD

        Trial courts act as “gatekeepers” to ensure that “any and all scientific testimony or evidence

admitted is not only relevant, but reliable.” Daubert v. Merrell Dow Pharms., 509 U.S. 579, 589

(1993). “[P]rior to admitting expert testimony, ‘[d]istrict courts must be assured that the proffered

witness is qualified to testify by virtue of his “knowledge, skill, experience, training, or

education.”’” Taylor Pipeline Const., Inc. v. Directional Rd. Boring, Inc., 438 F. Supp. 2d 696, 705

(E.D. Tex. 2006) (second alteration in original) (quoting Wilson v. Woods, 163 F.3d 935, 937 (5th

Cir. 1999)). This gatekeeping ensures that “an expert, whether basing testimony upon professional

studies or personal experience, employs in the courtroom the same level of intellectual rigor that

characterizes the practice of an expert in the relevant field.” Kumho Tire Co. v. Carmichael, 526

U.S. 137, 152 (1999).

        Under Daubert, the party offering the expert’s testimony has the burden of showing that

(1) the expert is qualified, (2) the testimony is relevant to an issue in the case, and (3) the testimony

is reliable. Daubert, 509 U.S. at 590-91. “This gate-keeping obligation applies to all types of expert

testimony, not just scientific testimony.” Pipitone v. Biomatrix, Inc., 288 F.3d 239, 244 (5th Cir.

2002). Because the Daubert Framework is “a flexible one,” Daubert, 509 U.S. at 594, the decision

to exclude expert testimony is left to the sound discretion of the district court. St. Martin v. Mobil

Expl. & Producing U.S., Inc., 224 F.3d 402, 405-06 (5th Cir. 2000).

        “As with other expert evidence, surveys are subject to Daubert scrutiny.” Scrum All., Inc.

v. Scrum, Inc., No. 4:20-cv-227, 2021 WL 1691136, at *3 (E.D. Tex. Apr. 29, 2021). “Evaluating

the validity of surveys under Daubert involves two criteria: (1) ‘the adequacy of the [survey]


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 universe,’ and (2) ‘the format of the questioning.” Id. at *3 (citing Exxon Corp. v. Tex. Motor Exch.

 of Hous., Inc., 628 F.2d 500, 506-07 (5th Cir. 1980)); Scott Fetzer Co. v. House of Vacuums Inc.,

 381 F.3d 477, 487 (5th Cir. 2004). While “minor methodological flaws” go to weight, “[i]n some

 cases . . . serious flaws in a survey will make any reliance on that survey unreasonable.” Scott

 Fetzer, 381 F.3d at 488 (citing Bank of Tex. v. Commerce Sw., Inc., 741 F.2d 785, 789 (5th Cir.

 1984)); see also In re Motor Fuel Temperature Sales Pracs. Litig., MDL No. 18400, 2012 WL

 13050523, at *6 (D. Kan. Feb. 29, 2012) (exclusion follows where flaws are “so substantial as to

 render the survey conclusions untrustworthy”).

        “An expert’s survey meets Daubert’s reliability standards if [among other things], the

 expert . . . properly defines the ‘universe’ of respondents” and “selects a representative sample of

 that universe.” Navarro v. Proctor & Gamble Co., 501 F. Supp. 3d 482, 497-98 (S.D. Ohio 2020).

 “Identification of a survey population must be followed by selection of a sample that accurately

 represents that population.” Fed. Jud. Ctr., Reference Manual on Scientific Evidence (“FJC Ref.

 Man.”) at 380 (3d ed. 2011).2 And the survey population must “adequately represent the opinions

 which are relevant to the litigation.” Scott Fetzer, 381 F.3d at 487. “[A] sample that accurately

 represents the target population must be selected, and procedures must be taken to reduce the

 likelihood of a biased sample.” Menasha Corp. v. News Am. Mktg. In-Store, Inc., 238 F. Supp. 2d

 1024, 1030 (N.D. Ill. 2003); Manual for Complex Litigation § 11.493 (4th ed. 2004).

        An underinclusive sample population can render a survey unreliable. “If [a survey’s]

 coverage is underinclusive, the survey’s value depends on the proportion of the target population



 2
  “In determining whether a survey was conducted in accordance with ‘accepted survey principles,’
 most courts look to the Federal Judicial Center’s Reference Manual on Scientific Evidence . . . .”
 Johnson v. Big Lots Stores, Inc., No. 04-cv-03201, 2008 WL 1930681, at *4 (E.D. La. Apr. 29,
 2008). The FJC Reference Manual is “intended to assist judges in identifying, narrowing, and
 addressing issues bearing on the adequacy of surveys either offered as evidence or proposed as a
 method for developing information.” FJC Ref. Man. at 362.

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 that has been excluded from the sampling frame and the extent to which the excluded population

 is likely to respond differently from the included population.” FJC Ref. Man. at 378. A

 “suspiciously underinclusive” sample population “severely limits the probative value of the

 survey’s results.” Scott Fetzer, 381 F.3d at 487-88. Thus, “[a] survey should be excluded when the

 sample is clearly not representative of the universe it is intended to reflect.” Mini Melts, Inc. v.

 Reckitt Benckiser, Inc., No. 4:07-cv-271, 2009 WL 10677599, at *6 (E.D. Tex. Feb 26, 2009)

 (citation omitted).

                                           ARGUMENT

        The methodology underlying Dr. Simonson’s opinions is flawed in three respects. First,

 the surveys’ sample populations are unrepresentative and biased. Dr. Simonson—at the direction

 of Google’s counsel—excluded the six largest ad agencies and hundreds of other prolific users of

 Google’s ad tech tools. These exclusions make his sample population underinclusive. Because all

 three surveys pull from an underinclusive and biased population sample, they are unreliable and

 should be excluded. Second, inconsistent with standard practices, the surveys were not blind. Dr.

 Simonson—again, at the direction of Google’s counsel—allowed respondents to opt out of the

 survey after being told that Google sponsored the survey in connection with litigation. Fifteen to

 twenty-four percent of respondents did opt out. Dr. Simonson did not collect or analyze the opt-

 out respondents’ data, so he cannot reliably confirm that their exclusion did not alter the survey

 results. Third, Dr. Simonson’s diversion question—the question about substitution behavior—

 turned on a vague and ambiguous term (a “small but significant amount”), deliberately leaving it

 to the respondents to speculate about its meaning. The responses are therefore unreliable.

 I.     The Surveys Are Unreliable Because Their Sample Populations Are Biased And
        Unrepresentative.
        Dr. Simonson’s surveys are not representative of the populations they purport to study.

 First, Dr. Simonson improperly excluded many of the largest and most important advertisers and

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 ad agencies in the market. Second, respondents opted out of the surveys after learning that Google

 sponsored the surveys in connection with ongoing antitrust litigation. The surveys’ samples are

 consequently “suspiciously underinclusive.” Scott Fetzer, 381 F.3d at 487-88.

        The Court should be skeptical of Dr. Simonson’s

                                                                          “[s]pecial precautions are

 required to reduce the likelihood of biased samples.” FJC Ref. Man. at 382-83;

           Second,




                     Despite these concerns,



                                                      This omission is critical—the jury cannot be

 asked to rely on surveys designed to identify the relevant market when the expert did not show

 that the populations actually represent the markets the surveys purport to represent.

    A. Dr. Simonson Improperly Excluded 580 Key Respondents from the Surveys.
        Dr. Simonson’s exclusion of some of the largest and highest-spending advertisers and ad

 agencies—at the direction of Google’s counsel—renders his samples unrepresentative. By

 excluding those potential respondents, Dr. Simonson failed to adhere to the standard that

 “[i]dentification of a survey population must be followed by selection of a sample that accurately

 represents that population.” FJC Ref. Man. at 380. His findings are therefore unreliable.

        In Scott Fetzer, a vacuum company’s expert conducted a survey to show “consumer

 confusion” in a trademark infringement case. 381 F.3d at 487. The expert used the company’s



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 customer lists to construct a survey population of local residents who owned the company’s

 vacuum cleaner. Id. The survey population therefore “sa[id] nothing about the ad’s effect on the

 class of potential consumers of new Kirby vacuum cleaners,” which included a “large proportion”

 of consumers who had not yet purchased a vacuum. Id. at 488. And the court noted that the

 population was “suspiciously underinclusive” even for the narrower class of potential purchasers

 of repairs for the vacuum cleaners—“presumably include[ing] a high proportion of Kirby vacuum

 cleaner owners”—because “at least some” of them would not be on the customer lists. Id.

 Recognizing that a survey’s sample population “must adequately represent the opinions which are

 relevant to the litigation,” the Fifth Circuit affirmed the district court’s finding that the survey

 population was underinclusive and thus the survey was unreliable. Id. (quoting Amstar Corp. v

 Domino’s Pizza, 615 F.2d 252, 264 (5th Cir. 1980)); see also FTC v. Fleetcor Techs., Inc., No.

 1:19-cv-5727, 2022 WL 3350066 (N.D. Ga. Aug. 9, 2022) (excluding expert survey because its

 “deeply unrepresentative sample” excluded customers for much of the relevant period); Hi Ltd.

 P’ship v. WingHouse of Fla., Inc., No. 6:03-cv-00116, 2004 U.S. Dist. LEXIS 30687 at *25-26

 (M.D. Fla. Oct. 5, 2004) (survey was underinclusive and thus unreliable because it excluded

 women, who were roughly one third of the competing restaurant’s clientele).

        Here, too, Dr. Simonson’s sample populations are “suspiciously underinclusive” and do

 not reflect the relevant populations.




                               .3 Excluding that “large proportion” of potential respondents biased



 3
  See Changing Agency Dynamics: How Shifts in Ad Spending and the Role of AI in Media Buying
 and Planning Are Changing the Agency-Marketer Relationship, supra note 1.

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 the survey results and shows that the surveys do not reliably represent the broader populations they

 supposedly studied. When a survey’s coverage is underinclusive, its “value depends on the

 proportion of the target population that has been excluded from the sampling frame and the extent

 to which the excluded population is likely to respond differently from the included population.”

 FJC Ref. Man. at 378.



                                          But Dr. Simonson conducted no analysis on the extent to

 which the excluded advertisers and ad agencies were likely to respond differently from the

 included population. Instead, he merely speculates that his “results would likely be conservative

 on key topics.” Simonson Rep. ¶ 34. Because Dr. Simonson excluded a large and critical proportion

 of the potential population, Google cannot meet its burden of showing the sample is reliable.

    B. Dr. Simonson Improperly Allowed Respondents To Opt Out After Revealing That
       Google Sponsored the Survey for Its Antitrust Litigation.
        The pre-survey exclusion of potential respondents was not the end of Dr. Simonson’s

 improper whittling of the sample populations. The opt-out question that Google requested further

 excluded respondents who were in the sample but chose not to submit their responses after learning

 Google sponsored the survey in connection with antitrust litigation. All told, 16% of respondents

 in the Higher-Spend Advertiser Survey, 24% of respondents in the Lower-Spend Advertiser

 Survey, and 15% of respondents in the Ad Agency Survey chose to opt out. Simonson Rep. Exs.

 2, 38, 69.




                                         Because the opt-out rendered the survey population

 underinclusive, its “value depends on . . . the extent to which the excluded population is likely to

 respond differently from the included population.” FJC Ref. Man. at 378.

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                                                           Dr. Simonson speculates that “there is no

 reason to expect [the respondents] who chose . . . to not be included in the final sample to be

 different . . . from the other respondents.” Simonson Rep. ¶ 81.



                                                                    Dr. Simonson failed to retain or

 analyze data from the opt-out respondents, and so lacks any basis to opine that the opt-out

 respondents were similar to the remainder. As Dr. Simonson acknowledged, this inquiry into bias

 is the                 and on that question his opinion is mere guesswork.

 II.      The Surveys Were Not Double Blind.
          The opt-out question undermined the reliability of the surveys in another way: it made the

 surveys unblinded. “To ensure objectivity in the administration of the survey, it is standard

 interview practice in surveys conducted for litigation to do double-blind research whenever

 possible: Both the interviewer and the respondent are blind to the sponsor of the survey and its

 purpose.” FJC Ref. Man. at 410-11. When the survey sponsorship is disclosed, court should

 consider: “(1) whether the sponsor has views and expectations that are apparent and (2) whether

 awareness is confined to the interviewers or involves the respondents.” Id. at 411.

          The opt-out question is at odds with the principle of double blindness, further undermining

 the reliability of the surveys.




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                                                                   Google cannot meet its burden to

 show that the surveys were reliable without data from the out-out respondents, and so the surveys

 should be excluded.

 III.   The Surveys’ Use Of Leading Diversion Questions With Vague Terminology
        Renders Them Unreliable and Irrelevant.
        The surveys’ diversion question, which asks about substitutability in response to a “small

 but significant” increase to the cost of programmatic display advertising, is so vague that it is

 unreliable. “When unclear questions are included in a survey, they may threaten the validity of the

 survey by systematically distorting responses if respondents are misled in a particular direction, or

 by inflating random error if respondents guess because they do not understand the question. If the

 crucial question is sufficiently ambiguous or unclear, it may be the basis for rejecting the survey.”

 FJC Ref. Man. at 388.



        The diversion question is vague because it, by design, leaves it to the respondent to decide

 for himself what a “small but significant amount” is. Simonson Rep. ¶ 17, n.5. Dr. Simonson

 adopted this approach




                                                           . Courts find that similarly ambiguous

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 language renders survey results unreliable and inadmissible. See, e.g., In re Motor Fuel Temp.

 Sales Pracs. Litig., No. 07-1840, 2012 WL 13050523, at *6-7 (D. Kan. Feb. 29, 2012).

        In this case, the inclusion of such ambiguous language is especially problematic. In

 antitrust cases like this one, the “hypothetical-monopolist test” (“HMT”) is used to evaluate the

 relevant market. See FTC v. Tapestry, Inc., No. 1:24-cv-03109, 2024 WL 4647809, at *8 (S.D.N.Y.

 Nov. 1, 2024). “Implementing the HMT requires imagining that a hypothetical monopolist has

 imposed a small but significant non-transitory price increase in price (‘SSNIP’) within the

 proposed market.” Id. (emphasis added) (quotations omitted). “The usual practice is to define the

 SSNIP as a five-percent increase in price.” Id. Dr. Simonson’s question about a “small but

 significant” price increase almost exactly mirrors the SSNIP language. Jurors will likely assume

 that the respondents understood Dr. Simonson’s survey question to be asking about the SSNIP test

 (a five-percent price increase), when, in fact, respondents could have interpreted the term “small

 but significant amount” to be any amount. This invites (practically ensures) an unreasonable and

 impermissible amount of juror confusion.




               Because the diversion question is fatally vague and ambiguous, the court should, at

 a minimum, exclude the survey responses to that question and the resulting analysis.

                                         CONCLUSION
        For these reasons, the Court should exclude Dr. Simonson’s expert opinions.



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 DATED: November 18, 2024                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I certify that on November 18, 2024, this document was filed electronically in compliance

 with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

 Local Rule CV-5(a)(3)(A).

                                                   /s/ Noah S. Heinz



                           CERTIFICATE OF MOTION TO SEAL

        I certify that contemporaneously with the filing of this Motion, Plaintiff States filed a

 motion to seal both this document and the attached exhibits.



                                                   /s/ Noah S. Heinz




                              CERTIFICATE OF CONFERENCE

        I certify that counsel has complied with the meet and confer requirement in Local Rule CV-

 7(h). Counsel for Plaintiff States met and conferred by telephone in good faith with counsel for

 Google on November 15, 2024. Google indicated that it opposes the motion.


                                                   /s/ Noah S. Heinz




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